         Case 1:17-cv-02989-AT Document 764 Filed 08/05/20 Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,

Defendants.

     COALITION PLAINTIFFS’ NOTICE OF FILING DOCUMENTS FOR
                    AUGUST 5, 2020 HEARING

       Coalition Plaintiffs file this Notice to submit the attached documentary

evidence to aid the discussion relating to adjudicated ballot images in Paragraph 2

of the Court’s August 5, 2020 Order (Doc. 762).

       Exhibit 1 is a page from Doc. 640-1.

       Exhibit 2 is from a published article in the New York Times.

       Further information on these attachments will be provided by counsel during

the hearing.
        Case 1:17-cv-02989-AT Document 764 Filed 08/05/20 Page 2 of 6




      This Notice has been prepared in accordance with the requirements of LR

5.1 and served on all counsel via the PACER-ECF system.

      This 5th day of August, 2020.
                                      /s/ Bruce P. Brown
                                      Bruce P. Brown
                                      BRUCE P. BROWN LAW LLC
                                      1123 Zonolite Rd. NE, Suite 6
                                      Atlanta, Georgia 30306
                                      (404) 881-0700
                                      Counsel for Plaintiff Coalition for Good
                                      Governance
Case 1:17-cv-02989-AT Document 764 Filed 08/05/20 Page 3 of 6




                                                                E
                                                                X
                                                                H
                                                                 I
                                                                B
                                                                 I
                                                                T



                                                                1
       Case
         Case
            1:17-cv-02989-AT
               1:17-cv-02989-ATDocument
                                 Document
                                        640-1
                                          764 Filed
                                               Filed10/23/19
                                                     08/05/20 Page
                                                               Page81
                                                                    4 of
                                                                      of 6170



           Audit Mark
           Every single ballot in the election is imaged
           and appended with Dominion’s patented
           AuditMark, a record of how the system
           interpreted the voter’s selections. This ballot-
           level audit trail allows election officials and
           other stakeholders to review not only the
           ballot images, but also the tabulator’s
           interpretation of each ballot.

           Each image is labeled with the tabulator,
           batch, and sequence number within the batch,
           which corresponds to the physical ballot in
           the stack. The AuditMark is appended
           directly to the image showing how the vote
           was interpreted at scan time. This AuditMark
           will also include any adjudications applied to
           the ballot for voter intent. Even if ballots for
           a given batch are mixed after scanning, these
           multiple records provide a way of correlating
           the digital Cast Vote Record data to the
           image scanned and finally to the physical
           paper ballot. While the AuditMark allows
           ballot-level auditing, it is never tied to the
           voter.

           Dual Threshold
           When a hand-marked ballot is scanned by an
           ImageCast tabulator – at the precinct level or
           centrally – a complete duplex image is
           created and then analyzed for tabulation by
           evaluating the pixel count of a voter
           mark. The pixel count of each mark is compared with two thresholds (which are customer
           configurable. to determine what constitutes a vote.

           If a mark falls above the upper threshold, it is determined to be a valid vote. If a mark falls below
           the lower threshold, it will not be counted as a vote. However, if a mark falls between the two
           thresholds (known as the “ambiguous zone”), it will be deemed as a marginal mark and the ballot
           will be returned to the voter for corrective action.

           With this feature, the voter is given the ability to determine their intent at the time they cast their
           ballot, not an inspection or recount board after the fact, when it is too late. The chart below



State of Georgia
New Voting System
Event number: 47800-SOS0000035
                                                                                                  Page 11 of 77
Case 1:17-cv-02989-AT Document 764 Filed 08/05/20 Page 5 of 6




                                                                E
                                                                X
                                                                H
                                                                 I
                                                                B
                                                                 I
                                                                T



                                                                2
Case 1:17-cv-02989-AT Document 764 Filed 08/05/20 Page 6 of 6
